     Case: 2:22-cv-03681-SDM-KAJ Doc #: 5 Filed: 10/12/22 Page: 1 of 2 PAGEID #: 37




                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

Peninsula Petroleum Limited,                      )
                                                  )
         Plaintiff,                               )    Civil Action No. ___________________
                                                  )
v.                                                )
                                                  )    District Judge: _____________________
Lukoil Pan-Americas LLC,                          )
                                                  )    Magistrate Judge: __________________
         Defendant,                               )
                                                  )
and                                               )    IN ADMIRALTY
                                                  )
Chevron U.S.A. Inc.                               )
Citgo Petroleum Corporation                       )    MOTION FOR ADMISSION
Trafigura AG                                      )    PRO HAC VICE
Trafigura Trading LLC                             )
Exxonmobil Sales and Supply LLC                   )
Valero Marketing and Supply Company,              )
                                                  )
         Garnishees.                              )

         Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Kelly E. Mulrane, trial attorney for

Peninsula Petroleum Limited, in the above-referenced action, hereby moves the court to admit J.

Stephen Simms pro hac vice to appear and participate as counsel or co-counsel in this case for

Peninsula Petroleum Limited.

         Movant represents that J. Stephen Simms is a member in good standing of the highest

court of Maryland, as attested by the accompanying certificate from that court, and that J.

Stephen Simms is not eligible to become a member of the permanent bar of this Court. This

Motion is accompanied by the required filing fee.

         J. Stephen Simms’ relevant identifying information is as follows:

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         201 International Circle, Suite 230
         Baltimore, Maryland 21030
         Tel: (410) 783-5795
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DATED: October 12, 2022                     Respectfully submitted,

                                            s/ Kelly E. Mulrane
                                            Kelly E. Mulrane (0088133) trial attorney
                                            BENESCH, FRIEDLANDER,
                                               COPLAN & ARONOFF, LLP
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                                            OF COUNSEL:
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                                            Attorneys For Plaintiff Peninsula




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